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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

   v.
                                                         Case No. 1:21-cr-418 (RDM)
ERIC BOCHENE,

   Defendant.


                      NOTICE OF WITHDRAWAL OF APPEARANCE

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Deputy Chief Assistant United States Attorney Karen Rochlin,

hereby informs the Court and gives notice that Deputy Chief Assistant United States Attorney

Karen Rochlin hereby withdraws her appearance in this matter on behalf of the United States.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


                                              /s/ Karen Rochlin
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